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            8                                UNITED STATES DISTRICT COURT
            9                             NORTHERN DISTRICT OF CALIFORNIA
           10                                    SAN FRANCISCO DIVISION
           11    UNITED STATES OF AMERICA,                  CR 10-0371-WHA
           12                       Plaintiff,
           13          v.                                   DEFENDANT ALVIN K. ONO’S MOTION
                                                            TO RELEASE UNDER SEAL RECORDS TO
           14    ALVIN K. ONO,                              DEFENDANT’S COUNSEL
           15                       Defendant.
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Gibson, Dunn &
Crutcher LLP
                       DEFENDANT’S MOTION TO RELEASE UNDER SEAL RECORDS TO DEFENDANT’S COUNSEL;
                                                CASE NO. CR 10-0371-WHA
                       Case 3:10-cr-00371-WHA Document 70 Filed 10/03/13 Page 2 of 4


            1        DEFENDANT’S ADMINISTRATIVE MOTION TO RELEASE UNDER SEAL
            2                             RECORDS TO DEFENDANT’S COUNSEL
            3           Defendant Alvin K. Ono (“Defendant”) hereby requests that the Court order the release to
            4    Defendant’s counsel certain under seal records filed by the Court in the present action so that Counsel
            5    may keep accurate records of court proceedings as they pertain to Defendant. Defendant requests
            6    that the records otherwise remain under seal for all purposes as they contain sensitive information.
            7           Defendant moves for the release of the following under seal documents to Defendant’s
            8    counsel:
            9               1. Docket Entry 49: January 29, 2013 Sealed Document as to Alvin Ono;
           10               2. Docket Entry 50: January 29, 2013 Sealed Document as to Alvin Ono;
           11               3. Docket Entry 51: January 29, 2013 Sealed Document as to Alvin Ono;
           12               4. Docket Entry 52: January 29, 2013 Sealed Document as to Alvin Ono;
           13               5. Docket Entry 53: January 29, 2013 Sealed Document as to Alvin Ono;
           14               6. Docket Entry 54: January 29, 2013 Sealed Document as to Alvin Ono;
           15               7   Docket Entry 55: January 29, 2013 Sealed Document as to Alvin Ono;
           16               8. Docket Entry 56: January 29, 2013 Sealed Document as to Alvin Ono;
           17               9. Docket Entry 57: January 29, 2013 Sealed Document as to Alvin Ono;
           18               10. Docket Entry 58: January 29, 2013 Sealed Document as to Alvin Ono;
           19               11: Docket Entry 59: February 6, 2013 Sealed Document as to Alvin Ono;
           20               12. Docket Entry 60: January 29, 2013 Sealed Document as to Alvin Ono;
           21               13. Docket Entry 61: February 6, 2013 Sealed Document as to Alvin Ono;
           22               14. Docket Entry 62: February 6, 2013 Sealed Document as to Alvin Ono;
           23               15. Docket Entry 63: February 6, 2013 Sealed Document as to Alvin Ono; and
           24               16. Docket Entry 64: July 12, 2013 Sealed Document as to Alvin Ono.
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Crutcher LLP
                        DEFENDANT’S MOTION TO RELEASE UNDER SEAL RECORDS TO DEFENDANT’S COUNSEL;
                                                 CASE NO. CR 10-0371-WHA
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            1    Dated: October 3, 2013
                                                             MICHAEL LI-MING WONG
            2                                                THAD A. DAVIS
                                                             KYLE A. WITHERS
            3                                                GIBSON, DUNN & CRUTCHER LLP
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            5                                                By___/s/Michael Li-Ming Wong _______
            6                                                Michael Li-Ming Wong
            7                                                Attorneys for Defendant ALVIN K. ONO
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Crutcher LLP
                       DEFENDANT’S MOTION TO RELEASE UNDER SEAL RECORDS TO DEFENDANT’S COUNSEL
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